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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                   )
In re:                                                             ) Chapter 11
                                                                   )
AMERICAN PHYSICIAN PARTNERS, LLC, et al.,1                         ) Case No. 23-11469 (BLS)
                                                                   )
                                  Debtors.                         ) (Joint Administration Requested)
                                                                   )
                                                                     Ref. Docket No. 13

     INTERIM ORDER AUTHORIZING CERTAIN PROCEDURES TO MAINTAIN
              CONFIDENTIALITY OF PATIENT INFORMATION
              AS REQUIRED BY APPLICABLE PRIVACY RULES

         Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Interim Order”) authorizing certain

procedures to maintain the confidentiality of patient information as required by applicable privacy

rules; and the Court having found that it has jurisdiction to consider the Motion and the relief

requested therein pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended Standing Order of

Reference from the United States District Court for the District of Delaware, dated February 29,

2012; and upon consideration of the First Day Declaration in support thereof; and the Court having

found that consideration of the Motion and the relief requested therein is a core proceeding

pursuant to 28 U.S.C. § 157(b); and the Court having found that venue of these proceedings in this

District is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that notice of the

Motion as set forth therein is sufficient under the circumstances; and the Court having reviewed

the Motion and having considered statements in support of the Motion at the hearing held before

this Court (together, the “Hearing”); and the Court having determined that the legal and factual
bases set forth in the Motion and at the Hearing establish just cause for the relief granted herein;


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        A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
Debtors’ proposed claims and noticing agent at https://dm.epiq11.com/AmericanPhysicianPartners. The location of
American Physician Partners, LLC’s principal place of business and the Debtors’ service address in these Chapter
11 Cases is 5121 Maryland Way Suite 300 Brentwood, TN 37027.
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    Capitalized terms used and not defined herein have the meanings ascribed in the Motion.

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and upon all of the proceedings had before the Court; and after due deliberation and sufficient

cause appearing therefor,

        IT IS HEREBY ORDERED THAT

        1.       The Motion is GRANTED on an interim basis as set forth herein.

        2.       The final hearing (the “Final Hearing”) on the Motion shall be held on October 18,

2023 at 11:00 a.m., prevailing Eastern Time. Any objections or responses to entry of a final order

on the Motion shall be filed on or before 4:00 p.m., prevailing Eastern Time, on October 11, 2023.

In the event that no objections to entry of a final order on the Motion are timely received, this

Court may enter such final order without need for the Final Hearing.

        3.       The following procedures (the “Privacy Procedures”) shall apply in these chapter
11 cases:

                 a.       the Debtors shall omit any reference to current or former patients from the
                          matrix of creditors and any certificate of service;

                 b.       if necessary, the Debtors shall identify current or former patients in the
                          Schedules and Statements solely by a code number, such as “Patient 1,”
                          “Patient 2,” and so forth, and shall make an unredacted copy of the
                          Schedules and Statements available to (i) the Court and to the United States
                          Trustee upon request; and (ii) any other party-in-interest only after this
                          Court has entered an order, after notice and a hearing, authorizing the
                          Debtors to do so; and

                 c.       if the Debtors serve any paper upon any person listed on the Patient List,
                          the Debtors shall note in the respective certificate of service that the parties
                          served include persons listed on the Patient List.
        4.       The Debtors’ compliance with the foregoing Privacy Procedures shall constitute

compliance with section 521 of the Bankruptcy Code, Rule 1007(a) of the Federal Rules of

Bankruptcy Procedure, and Local Rule 1007 of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware.

        5.       Nothing in this Interim Order shall affect the rights or obligations of any patient

care ombudsman or long-term care ombudsman appointed in these cases pursuant to 11 U.S.C. §

333.




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        6.       This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Interim Order.




Dated: September 21st, 2023                     BRENDAN L. SHANNON
Wilmington, Delaware                            UNITED STATES BANKRUPTCY JUDGE




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